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                 Case 1:20-cv-00431-DAD-EPG Document 369-7 Filed 01/24/22 Page 2 of 3
State of California                          DEPARTMENT OF WATER RESOURCES                 California Natural Resources Agency
                                              CALIFORNIA STATE WATER PROJECT


                       NOTICE TO STATE WATER PROJECT CONTRACTORS




Date:            January 20, 2022

Number: 22-01

Subject: 2022 State Water Project Table A Allocation Increase from 0 to 15 Percent

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From:            Original signed by
                 Ted Craddock
                 Deputy Director, State Water Project
                 Department of Water Resources


                 Based on the recent precipitation, runoff, and current water supply conditions, the
                 Department of Water Resources (DWR) is increasing the State Water Project (SWP) Table
                 A Allocation to 15 percent of most SWP long-term contractors’ 2022 requested Table A
                 amounts. Attached is the revised 2022 SWP allocation table.

                 Please note that this Table A Allocation will reduce, on a 1:1 basis, any unmet human
                 health and safety need volumes that were previously identified in the SWP contractors’
                 submittals to DWR.

                 The Table A Allocation increase is made consistent with the long-term water supply
                 contracts, legal requirements, and public policy. In determining available SWP supplies,
                 DWR has considered several factors including existing storage in SWP conservation
                 reservoirs, estimates of future runoff under very dry conditions, SWP operational and
                 regulatory constraints such as, federal Endangered Species Act and California
                 Endangered Species Act requirements, and the 2022 demands of SWP Contractors.
                 DWR may revise this and any subsequent allocations if warranted by the year’s
                 developing hydrologic and water supply conditions.

                 To develop the 15 percent water delivery schedule, DWR will scale up the SWP
                 Contractors’ current 5 percent schedules that were submitted in October 2021 (as part of
                 initial requests), unless SWP Contractors submit updated schedules. DWR will provide
                 approved monthly water delivery schedules to the SWP Contractors.

                 If you have any questions or need additional information, please contact John Leahigh,
                 Water Operations Executive Manager, at (916) 902-9876.

                 Attachment
                  mmabrouk:MSilva S:\NTC - Working Folder\2022\22-02 - 2022 Allocation Increase

DWR 9625 (Rev. 3/12)                                                                                               Page 1 of 1
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                                   2022 STATE WATER PROJECT ALLOCATION
                                               (ACRE-FEET)

                                                                                                    PERCENT INITIAL
                                                                                  APPROVED
        SWP CONTRACTORS                   TABLE A           INITIAL REQUEST                            REQUEST
                                                                                 ALLOCATION
                                                                                                      APPROVED

                                                                                                         (3)/(2)
                                            (1)                   (2)                (3)                   (4)
FEATHER RIVER
 County of Butte                                   27,500               27,500              5,000        18%
 Plumas County FC&WCD                               2,700                2,700                405        15%
 City of Yuba City                                  9,600                9,600              2,400        25%
                              Subtotal             39,800               39,800              7,805
NORTH BAY
 Napa County FC&WCD                                29,025               29,025              7,256        25%
 Solano County WA                                  47,756               47,756             11,939        25%
                              Subtotal             76,781               76,781             19,195
SOUTH BAY
 Alameda County FC&WCD, Zone 7                     80,619            80,619                12,093        15%
 Alameda County WD                                 42,000            42,000                 6,300        15%
 Santa Clara Valley WD                            100,000           100,000                15,000        15%
                              Subtotal            222,619           222,619                33,393
SAN JOAQUIN VALLEY
 Oak Flat WD                                     5,700                5,700                855           15%
 County of Kings                                 9,305                9,305              1,396           15%
 Dudley Ridge WD                                41,350               41,350              6,203           15%
 Empire West Side ID                             3,000                3,000                450           15%
 Kern County WA                                982,730              982,730            147,410           15%
 Tulare Lake Basin WSD                          87,471               87,471             13,121           15%
                              Subtotal       1,129,556            1,129,556            169,435
CENTRAL COASTAL
 San Luis Obispo County FC&WCD                     25,000               25,000              3,750        15%
 Santa Barbara County FC&WCD                       45,486               45,486              6,823        15%
                              Subtotal             70,486               70,486             10,573
SOUTHERN CALIFORNIA
 Antelope Valley-East Kern WA                  144,844              144,844             21,727           15%
 Santa Clarita Valley WA                        95,200               95,200             14,280           15%
 Coachella Valley WD                           138,350              138,350             20,753           15%
 Crestline-Lake Arrowhead WA                     5,800                5,800                870           15%
 Desert WA                                      55,750               55,750              8,363           15%
 Littlerock Creek ID                             2,300                2,300                345           15%
 Metropolitan WDSC                           1,911,500            1,911,500            286,725           15%
 Mojave WA                                      89,800               89,800             13,470           15%
 Palmdale WD                                    21,300               21,300              3,195           15%
 San Bernardino Valley MWD                     102,600              102,600             15,390           15%
 San Gabriel Valley MWD                         28,800               28,800              4,320           15%
 San Gorgonio Pass WA                           17,300               17,300              2,595           15%
 Ventura County WPD                             20,000               20,000              3,000           15%
                              Subtotal       2,633,544            2,633,544            395,033
               TOTAL                         4,172,786            4,172,786            635,434           15%


                                                                                                       SWPAO
                                                                                                    1/20/2022
